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                                 IN THE UNITED STATES DISTRICT COURT

                               FOR THE SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO. __________

    -----------___,____________________,_______ -----------------------------X
    In re Application of

    LINDA FISCHER
                              Applicant,
                                                                                 Civil Action No:
   To Issue a Subpoena for the Taking of a
   Deposition and The Production of Documents




    ----------------------------------------------------------------------X

                                 DECLARATION OF MARTIN S. KENNEY
     IN SUPPORT OF LINDA FISCHER'S EX PARTE APPLICATION FOR DISCOVERY
                                        PURSUANT TO 28 U.S.C. § 1782


            I        INTRODUCTION

   I, Martin S. Kenney, declare as follows: -

    1. I am the managing partner of the British Virgin Islands ("BVI") law firm of Martin Kenney &
        Co., Solicitors ("MKS"). I am admitted to practice as a legal practitioner in the Eastern
        Caribbean Supreme Court, BVI and as a solicitor advocate in the Senior Courts of England
        and Wales. I am instructed in this matter by Linda Fischer ("Ms. Fischer") and I am duly
        authorised to make this Declaration on her behalf. I was initially called to the Bar of British
        Columbia, Canada as a barrister and solicitor in 1984. I was then admitted to the Roll of
        Solicitors of England & Wales in 1992; qualified as a solicitor-advocate (England & Wales)
        in 2005; and admitted as a BVI legal practitioner in 2005. My practice for the past 30 years
        has involved the representation of the victims of complex cross-border fraud and corruption
        with a view to investigating such unworthy activities and seeking to recover the value lost.



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